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         ORDERED in the Southern District of Florida on February 2, 2017.




                                                                    Erik P. Kimball, Judge
                                                                    United States Bankruptcy Court
_____________________________________________________________________________

                                   UNITED STATES BANKRUPTCY COURT
                                     SOUTHERN DISTRICT OF FLORIDA
                                                 www.flsb.uscourts.gov



        In re:                                                 Case No. 16-20959 -BKC- EPK
         Maurice Symonette                                     Chapter 7



                               Debtor        /

                                      ORDER REINSTATING CASE
              An Order Dismissing Case for Failure to Pay Filing Fees was entered on 01/25/2017 .
        The court, upon determination that the debtor has paid the total filing fee due in this case,
        ORDERS as follows:
        侊         This case is reinstated. Because this case was dismissed prior to the meeting of
                  creditors being held, the meeting of creditors set for                               is/was
                  canceled. In accordance with Local Rules 3002-1(B)(2)(a), 4004-2(B)(1) and 4007-
                  1(B)(1), the clerk’s office will provide notice to all parties of record of the date of the
                  rescheduled meeting of creditors and any applicable reset deadlines . Or
        侊         This case is reinstated. This case was dismissed after the meeting of creditors was held.
                  In accordance with Local Rules 3002-1(B)(2)(b), 4004-2(B)(2) and 4007-1(B)(2):
                  A.     The deadlines for filing an adversary complaint objecting to discharge and/or
                         dischargeability:
                          侊      expired prior to dismissal of this case. No new deadlines shall be set.

                          侊      have been reset to                                .

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          B.      The deadline for filing a proof of claim is:
                  侊       not applicable. This case has been designated as a no asset case and
                          no claims bar date has been established at this time.
                  侊
                  ✔       not applicable. The deadline expired prior to dismissal of this case. No
                          new deadline shall be set.
                  侊                                     . Claims should be filed using the form and
                          the instructions provided with this Order.


                                                   ###


Copies to:
All parties of record by Clerk




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